
75 B.R. 553 (1987)
In re Richard G. PAOLINO and Elaine M. Paolino.
Civ. A. No. 87-2794.
United States District Court, E.D. Pennsylvania.
June 25, 1987.
Donald Reynolds, Rock Port, Mo., for Farmers and Merchants Bank.
Jefferson Broady, Rock Port, Mo., for Titus.
Jeffrey Meyers, Philadelphia, Pa., for Mrs. Paolino only.
Myron Bloom, Philadelphia, Pa., for Union Nat. Bank.
Jonathan H. Ganz, Philadelphia, Pa., for Mr. Paolino only.
Arthur W. Lefco, Philadelphia, Pa., for Home Unity Sav.
Maureen A. Powers, St. Joseph, Mo., for Hoy.
Michael H. Reed, Nathan B. Feinstein, Philadelphia, Pa., for debtors.

MEMORANDUM AND ORDER
FULLAM, Chief Judge.
To the extent that the Order of the bankruptcy judge involved in this appeal may be deemed interlocutory, I grant leave to appeal.
The bankruptcy judge's credibility assessments reflect findings of fact, which can be set aside by this court only if clearly erroneous. Neither the credibility findings, nor any other finding of fact challenged in this appeal, are clearly erroneous. Findings Nos. 33 and 36, to the effect that Dr. Richard Paolino and the law firm of Pincus, Verlin, Hahn and Reich, P.C. had actual and apparent authority to act on behalf of Mrs. Paolino  whether properly characterized as findings of fact, as findings of ultimate fact, or as mixed findings of fact and conclusions of law, or as pure conclusions of law  are plainly correct, amply supported by the record, and therefore must be affirmed.
Accordingly, the bankruptcy judge's April 7, 1987 Order, 72 B.R. 323, will be affirmed.
